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LISA D. HARDIE, OSB # 080783
Troutman Sanders LLP
805 SW Broadway, Suite 1560
Portland, OR 97205
Telephone: (503) 290-2334
Facsimile: (503) 290-2405
Email: lisa.hardie@troutmansanders.com
MATTHEW D. MURPHEY, CSB #194111 (admitted pro hac vice)
Troutman Sanders LLP
5 Park Plaza, Suite 1400
Irvine, CA 92614
Telephone: (949) 622-2756
Facsimile: (949) 769-2090
Email: matt.murphey@troutmansanders.com
PAUL E. MCGOWAN, GSB #360460 (admitted pro hac vice)
Troutman Sanders LLP
600 Peachtree St. NE, Suite 5200
Atlanta, GA 30308
Telephone: (404) 885-3000
Facsimile: (404) 962-6842
Email: paul.mcgowan@troutmansanders.com

Attorneys for Defendant


                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                PORTLAND DIVISION


COLUMBIA SPORTSWEAR NORTH                                               No. 3:15-cv-64
AMERICA, INC., an Oregon corporation,

                     PLAINTIFF,            DEFENDANT SEIRUS INNOVATIVE
                                           ACCESSORIES, INC.’S NOTICE OF
v.                                         MOTION AND MOTION TO DISMISS
                                           OR, ALTERNATIVELY, TRANSFER
SEIRUS INNOVATIVE ACCESSORIES,             VENUE TO THE SOUTHERN DISTRICT
INC., a Utah corporation,                  OF CALIFORNIA

                     DEFENDANT.
                                           ORAL ARGUMENT REQUESTED




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         MOTION AND MOTION TO DISMISS OR, ALTERNATIVELY, TRANSFER
         VENUE TO THE SOUTHERN DISTRICT OF CALIFORNIA
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                   LOCAL RULE 7.1 CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1, counsel for Defendant Seirus Innovative Accessories, Inc.

(“Seirus”) certifies that it made a good faith effort to resolve the issues raised in this Motion and

its accompanying memorandum. Those efforts included at least one telephone conference and an

exchange of e-mails with Plaintiff’s counsel. Counsel for the parties were unable to resolve this

dispute.

                                             MOTION

       Defendant Seirus Innovative Accessories, Inc. (“Seirus”) respectfully moves this Court to

dismiss this case for improper venue under Federal Rule of Civil Procedure 12(b)(3).

Alternatively, Seirus moves the Court to transfer this case to the U.S. District Court for the

District of California pursuant to 28 U.S.C. § 1404(a).

       This Motion is supported by Seirus’ Memorandum in Support, the declarations of

Matthew D. Murphey, Joseph Edwards (filed under seal), Michael Carey and Wendy Carey, and

any exhibits attached thereto. This motion is made in good faith and not for purposes of delay.


       DATED: February 27, 2015.
                                               TROUTMAN SANDERS LLP


                                               s/ Matthew D. Murphey
                                               LISA D. HARDIE, OSB # 080783
                                               Troutman Sanders LLP
                                               805 SW Broadway, Suite 1560
                                               Portland, OR 97205
                                               Telephone: (503) 290-2334
                                               Facsimile: (503) 290-2405
                                               Email: lisa.hardie@troutmansanders.com

                                               MATTHEW D. MURPHEY (admitted pro hac vice)
                                               5 Park Plaza, Suite 1400
                                               Irvine, CA 9261419
                                               Telephone: (949) 662-2700
                                               Facsimile: (949) 622-2739

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                                  Email: matt.murphey@troutmansanders.com

                                  PAUL E. MCGOWAN (admitted pro hac vice)
                                  Troutman Sanders LLP
                                  600 Peachtree St. NE, Suite 5200
                                  Atlanta, GA 30308
                                  Telephone: (404) 885-3000
                                  Facsimile: (404) 962-6842
                                  Email: paul.mcgowan@troutmansanders.com

                                  Attorneys for Defendant Seirus Innovative
                                  Accessories, Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 27, 2015, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court of Oregon by using the CM/ECF

system. Participants in this case No. 3:15-cv-64 who are registered CM/ECF users will be

served by the CM/ECF system. To the extent any documents relevant to this matter are filed

under seal, I certify that full and unredacted copies of such documents will be served on counsel

of record for Plaintiff.



                                             s/ Matthew D. Murphey
                                             Matthew D. Murphey




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